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             IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TEXAS
                        WACO DIVISION
 TOUCHSTREAM TECHNOLOGIES,
 INC.

                  Plaintiff,                         Civil Action No. 6:21-cv-569-ADA
          v.
                                                     JURY TRIAL DEMANDED
   GOOGLE LLC

                  Defendant.

    JOINT NOTICE OF SECOND AMENDED PROPOSED JURY INSTRUCTIONS

       Plaintiff Touchstream Technologies, Inc. (“Plaintiff” or “Touchstream”) and Defendant

Google LLC (“Defendant” or “Google”) (collectively, “the Parties”) submit the Parties’ current

versions of joint and disputed Final Jury Instructions. The attachments are as follows:

              Requested Final Jury Instructions (Exhibit A)

              Charge Final Jury Instructions (Exhibit B)




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Date: July 19, 2023                    Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on July 19, 2023, the foregoing was electronically filed with

the Clerk of Court using the CM/ECF system, which will send a notification of such filing (“NEF”) to all

counsel of record who have appeared in this case per Local Rule CV-5(b).

                                                /s/ Sharon A. Israel




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